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   USCA11 Case: 22-11995 Document: 28-1 Date Filed: 01/30/2025 Page: 1 of 2


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                               For rules and forms visit
  Clerk of Court                                                               www.ca11.uscourts.gov


                                           January 30, 2025

   Clerk - Southern District of Florida
   U.S. District Court                                                                      AP
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   MIAMI, FL 33128-1810
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Case 9:18-cr-80124-RAR Document 633 Entered on FLSD Docket 01/30/2025 Page 2 of 5
   USCA11 Case: 22-11995 Document: 28-1 Date Filed: 01/30/2025 Page: 2 of 2



   Appeal Number: 22-11995-HH ; 22-12125 -HH
   Case Style: USA v. Mark Agresti
   District Court Docket No: 9:18-cr-80124-RAR-2

   The enclosed copy of this Court's order of remand is issued as the mandate of this Court.
   Counsel and parties are advised that with this order of remand this appeal is concluded. If
   further review is to be sought in the future a timely new notice of appeal must be filed.

   Any pending motions are now rendered moot in light of the attached order.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




   Enclosure(s)

                                                               DIS-4 Multi-purpose dismissal letter
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   USCA11 Case: 22-11995 Document: 28-2 Date Filed: 01/30/2025 Page: 1 of 3




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                                   No. 22-11995



           UNITED S TATES OF AMERICA,
                                                         Plaintiff-Appellee,
          versus
          MARK AGRESTI,


                                                     Defendant-Appellant.




                    Appeal from the United States District Court
                        for the Southern District of Florida
                       D.C. Docket No. 9:18-cr-80124-RAR-2
Case 9:18-cr-80124-RAR Document 633 Entered on FLSD Docket 01/30/2025 Page 4 of 5
   USCA11 Case: 22-11995 Document: 28-2 Date Filed: 01/30/2025 Page: 2 of 3




          2                       Order of the Court                 22-11995

                                     No. 22-12125



          UNITED STATES OF AMERICA,
                                                           Plaintiff-Appellee,
          versus
          MARK AGRESTI,


                                                       Defendant-Appellant.




                     Appeal f rom the United States District Court
                         for the Southern District of Florida
                        D.C. Docket No. 9:18-cr-80124-RAR-2



          Before ROSENBAUM, LAGOA, and ABUDU, Circuit Judges.
          BY THE COURT:
                  "Appellant Mark Agresti's Unopposed Motion to Relinquish
          Jurisdiction" is GRANTED. The Court hereby REMANDS in full
          Case No. 22-11995 to the district court for further proceedings con­
          sistent with its order granting Appellant's motion for a new trial.
                Upon review, the Court also sua sponte REMANDS Case No.
          22-12125 in full.
Case 9:18-cr-80124-RAR Document 633 Entered on FLSD Docket 01/30/2025 Page 5 of 5
   USCA11 Case: 22-11995 Document: 28-2 Date Filed: 01/30/2025 Page: 3 of 3
